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VIAECF


Honorable Kenneth M. Karas
United States District Judge
Southern District of New York
300 Quarropas Street, Courtroom 521
White Plains, New York 10601


Re:    Finn v. Empress Ambulance Services, Inc. dlb/a Empress EMS, Case No. 7:22-cv-08101-
       KMK (the "Finn Action")

Dear Judge Karas:

As you know, we represent Empress Ambulance Service, LLC ("Empress") in the above-
captioned Finn action. Empress writes jointly with Plaintiff John Finn pursuant to the Court's
November 14, 2022 Order [ECF No. 17] requiring the parties to the Finn Action to submit joint
status reports to the public docket providing updates on the progress of the settlement process.
The twenty-sixth status report is due today, April 15, 2024.

As previewed for the Court, the settlement notice program commenced on January 8, 2024 and a
Final Approval Hearing was held on April 3, 2024. At the Final Approval Hearing, Judge Walsh
decided to adjourn the Hearing until May 16, 2024 to allow for the conclusion of the claims
period on May 8, 2024 before issuing her ruling.                     i,


We respectfully request that the Court continue to stay the later-filed actions while the settlement
notice and approval process continue. In accordance with the Court's November 14, 2022 Order,
we wili provide another status update on May 17, 2024 or ariy other date the Court would
prefer.      :                                                            :

Respectfully submitted,




         Atlanta      Chicago   Cincinnati   Cleveland    Columbus    Costa Mesa      Dallas  Denver     Houston
      Los Angelfifs    New York   Orlando    Philadelphia   San Francisco   Seattle    Washfngton, DC     Wilmington
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Casie D. Collignon

cc: All counsel of record (via ECF)


                              Granted.
